Case 4:16-cr-00551 Document 78 Filed on 05/28/21 in TXSD Page 1 of 9
                                                              United States District Court
                                                                Southern District of Texas

                                                                   ENTERED
                                                                   May 28, 2021
                                                                Nathan Ochsner, Clerk
Case 4:16-cr-00551 Document 78 Filed on 05/28/21 in TXSD Page 2 of 9
Case 4:16-cr-00551 Document 78 Filed on 05/28/21 in TXSD Page 3 of 9
Case 4:16-cr-00551 Document 78 Filed on 05/28/21 in TXSD Page 4 of 9
Case 4:16-cr-00551 Document 78 Filed on 05/28/21 in TXSD Page 5 of 9
Case 4:16-cr-00551 Document 78 Filed on 05/28/21 in TXSD Page 6 of 9
Case 4:16-cr-00551 Document 78 Filed on 05/28/21 in TXSD Page 7 of 9
Case 4:16-cr-00551 Document 78 Filed on 05/28/21 in TXSD Page 8 of 9
Case 4:16-cr-00551 Document 78 Filed on 05/28/21 in TXSD Page 9 of 9
